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                                                                               f(SPACE BELOW FOR FILING STAMP ONLY)

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 4

 5

 6   Attorney for Defendant, RAMIRO SALAS MUNOZ

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 9                               IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                                      ******
11
     UNITED STATES OF AMERICA,                             Case No.: 1:15-CR-00288-LJO-SKO
12
                        Plaintiff,
13                                                         WAIVER OF APPEARANCE;
              v.                                           ORDER THEREON
14

15   RAMIRO SALAS MUNOZ,

16                      Defendant.

17

18            TO THE UNITED STATES DISTRICT COURT; UNITED STATES

19            ATTORNEY’S OFFICE, BY AND THROUGH ITS REPRESENTATIVES:

20            Defendant RAMIRO SALAS MUNOZ by and through his attorney, ROGER D.

21   WILSON, hereby applies to this Court for an Order waiving his appearance at the Discovery

22   Motion Hearing currently scheduled for November 21, 2016, at 1:00 p.m. This request is made

23   because counsel for Mr. Munoz was recently ordered released from custody to participate in an

24   inpatient addiction recovery program and will be in a “black out” period whereby he will not be

25   permitted to leave the recovery center. Further, his appearance at the next hearing will not be

26   required as it is not a dispositive motion hearing and in all likelihood, a future hearing will be

27   scheduled.

28   ///

                                                        1
                          DEFENDANT’S REQUEST FOR WAIVER OF APPEARANCE; [PROPOSED] ORDER.
     Case 1:15-cr-00288-LJO-SKO Document 196 Filed 11/18/16 Page 2 of 2


 1            Mr. Munoz has maintained regular and routine contact with his counsel, and gives his

 2   counsel full authority to act on his behalf at the next hearing. Mr. Munoz has discussed the

 3   upcoming hearing with counsel and is satisfied that all relevant matters have been adequately

 4   reviewed and explained.

 5            Lastly, Mr. Munoz’s counsel has discussed this waiver of appearance with counsel for

 6   the Government, who had no objection.

 7            It is hereby requested that Defendant RAMIRO SALAS MUNOZ’S appearance at the

 8   November 21, 2016, Status Conference be excused.

 9            Respectfully submitted,
10   Dated:        April 20, 2015          By:                 /s/ Roger D. Wilson
11                                                            ROGER D. WILSON
                                                             Attorney for Defendant
12                                                          RAMIRO SALAS MUNOZ

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15
                                                 ORDER
16
              Defendant RAMIRO SALAS MUNOZ’S request for a waiver of appearance came
17
     before this Court and based thereon, and for GOOD CAUSE shown, the COURT ORDERS
18
     AS FOLLOWS:
19
              Defendant RAMIRO SALAS MUNOZ is hereby excused from appearing at the
20
     Discovery Motion Hearing currently scheduled for November 21, 2016, at 1:00 p.m.
21

22
     IT IS SO ORDERED.
23

24      Dated:      November 17, 2016                         /s/
                                                       UNITED STATES MAGISTRATE JUDGE
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27

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                      DEFENDANT’S REQUEST FOR WAIVER OF APPEARANCE; [PROPOSED] ORDER.
